                                                   U.S. Department of Justice
My und                                             United States Attorney
                                                   Southern District of New York

                                                   26 Federal Plaza, 37th Floor
                                                   December
                                                   New             11,10278
                                                       York, New York     2024

BY EMAIL & ECF
The Honorable Valerie E. Caproni
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re:    United States v. Alon Alexander, Oren Alexander, and Tal Alexander,
              24 Cr. 676 (VEC)

Dear Judge Caproni:

       The Government respectfully submits this letter in response to defense counsels’ May 5,
2025 letter requesting a conference to discuss the status of a second superseding indictment.

        The Government believes that a status conference is unnecessary. This afternoon, a grand
jury sitting in the Southern District of New York returned a second superseding indictment
charging the defendants with additional violations of federal law. The Government will meet and
confer with counsel later today and will discuss a mutually acceptable time to arraign the
defendants on the superseding indictment.


                                            Respectfully submitted,

                                            JAY CLAYTON
                                            United States Attorney

                                        By:    /s
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